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                                                  JUROR QUESTIONNAIRE
You will help save time selecting a jury when you complete this questionnaire completely and accurately. Do not show or
discuss this questionnaire to or with anyone. The completed questionnaire is not a public document. Please print your
answers to all the questions, then print and sign your name below. Thank you.
        Case Name: United States of America vs. Lawrence Martin Birk
1.      What is your name? ____________________________________________ Your gender? M or F
2.      In what city and county do you reside? ________________________
3.      Age? ________ Marital Status? _________ Children? (#, ages, & gender) ____________________________
4.      Where were you born and raised? _____________________ How long at current address? ______________
5.      Are you regularly employed, self employed or unemployed? ________________________________________
6.      Occupation and employer? (If retired, prior occupation and employer) _______________________________
        Spouses occupation? _________________________________ ____________________________________
7.      Level of education/degrees? ________________________________________________________________
8.      Law enforcement experience and/or military service experience, if any?_______________________________
9.      Friends or relatives in law enforcement? (Who and what agency?)___________________________________
        ________________________________________________________________________________________
10.     Have you ever been on a jury before? ______if yes, when? __________ Type of case? ______________
11.     Organizations or clubs to which you belong? ____________________________________________________
        ________________________________________________________________________________________
12.     Hobbies and leisure activities: _______________________________________________________________
13.     Have you, a member of your family, or a close friend been convicted of a crime, other than a traffic offense, in
        the past ten years? ______ Who, what, when & where?___________________________________________
        ________________________________________________________________________________________
14.     Have you ever been a witness or a party to any criminal proceeding? __________ When and what type of
        case?___________________________________________________________________________________
15.     Have you, a member of your family, or a close friend had a particularly good or bad experience with a police
        officer? ________ If yes, please briefly describe it: _______________________________________________
        ________________________________________________________________________________________
16.     How do you keep up with the news? __________________________________________________________
17.     Have you heard, seen, or read anything about this case from any source? If so, please explain. Be specific:
        ________________________________________________________________________________________
18.     Do you believe there is any reason why you cannot be a fair and impartial juror in this criminal case? _______
        If yes, please give your reason(s): ____________________________________________________________
19.     Is there anything you have not stated that might affect your jury service that you would like to discuss with the
        Judge outside the presence of the other prospective jurors? _______
                                               THANK YOU FOR YOUR HELP

I declare that the above information is true to the best of my knowledge. I know that if I have willfully misrepresented a material
fact on this questionnaire, I may be guilty of and punished under federal law for perjury or making a false statement.


        Dated: ______________________________                Signed:____________________________________________

                                                             Print Name: ________________________________________
